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Debtor Name   JAR  259 FOOD CORP
              _______________________________________________________                             1-22-40304-JMM
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                              449,280.15
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                             59,499.51
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          203,418.95
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                             -143,919.4
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                             305,360.71
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                               0.00
                                                                                                                            $ ____________

               (Exhibit E)




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Debtor Name   JAR  259 FOOD CORP
              _______________________________________________________                                1-22-40304-JMM
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                                0.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                          46
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                           0
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                                 0.00
                                        $ ____________           –      59,499.51
                                                                     $ ____________
                                                                                               =      -59,499.51
                                                                                                   $ ____________
    32. Cash receipts
                                                 0.00                  203,418.95              =      -203,418.9
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                                 0.00            –      -143,919.4             =       143,919.4
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                                0.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                         0.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                          0.00




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Debtor Name   JAR  259 FOOD CORP
              _______________________________________________________                            1-22-40304-JMM
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.

     40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




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                                           EXHIBIT A



        Jar 259 Food Corp. (the “Debtor”) provides the following explanation related to

questions 1, 3, 4, 5, and 6:


Question 1: The Debtor ceased operating its grocery store shortly after the Petition Date.


Question 3: The Debtor has not paid any bills following the Petition Date, including utilities

associated with the debtor’s store.


Question 4: Prior to the Petition Date, the employees at the Debtor’s store were generally paid

on a weekly basis. The Debtor did not retain its employees after the Petition Date because it

closed its store. Certain of the Debtor’s employees have yet to receive the pay for the period

immediately before the Petition Date, because the date for payment arose after the Petition Date.


Question 5: The Debtor has three bank accounts which were restrained by Merchant Cash

Advance Companies (the “MCA Companies”). The Debtor gave notice to the banks of the

Debtor’s bankruptcy proceedings and demanded the turnover of the balances in these accounts. If

the banks fail to turnover the funds held in these accounts, the Debtor will take the necessary

actions for the turnover of the accounts if necessary.


Question 6: Certain payments by the Debtor for sales taxes were returned for insufficient funds

because the account used was overdrawn. These sales taxes remain unpaid.




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                                            EXHIBIT B



         The Debtor provides the following explanation related to question 10:


        The Debtor has three bank accounts which were restrained by Merchant Cash Advance

         Companies (the “MCA Companies”). The Debtor gave notice to the banks of the

         Debtor’s bankruptcy proceedings and demanded the turnover of the balances in these

         accounts. If the banks fail to turnover the funds held in these accounts, the Debtor will

         take the necessary actions for the turnover of the accounts if necessary..




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                                     EXHIBIT C




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      DATE         PURPOSE              DESCRIPTION               DEBIT       CREDIT

 02/18/2022       Check to Key        Check Key Food wrote                    150,000.00
                     Food             themselves using pre-
                                       signed blank checks

 02/18/2022          Payment        Credit through 351 Kaur                   21,805.66
                   through 351
                       Kaur

 02/19/2022       Last Day Sales    The last day sales as per      8,613.31
                                        ACME Report

     Uncertain    Change and till     Key Food removed                        22,000.00
                     money           change and till money
                                    before handing over the
                                             store

    02/19/2022      Worldpay            Worldpay Balance          4,296.17
                 Balance increase           increase

    02/20/2022      Worldpay            Worldpay Balance          1,006.05
                 Balance increase           increase

    02/22/2022      Worldpay            Worldpay Balance                       708.28
                 Balance increase           decrease

    02/22/2022   351 Kaur Debits    Debits total for 351 Kaur    45,583.98

    02/23/2022      Worldpay            Worldpay Balance                        36.53
                 Balance increase           decrease

    02/23/2022      Kingdom           Withdrawal from MCA                      500.00
                     Kapital
                   Withdrawal

    02/23/2022     Wynwood            Withdrawal from MCA                      500.00
                    Capital
                   Withdrawal

    02/24/2022      Worldpay            Worldpay Balance                        53.76
                 Balance increase           decrease

    02/24/2022     Wynwood            Withdrawal from MCA                      500.00
                    Capital
                   Withdrawal



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    02/24/2022      Kingdom          Withdrawal from MCA                     500.00
                     Kapital
                   Withdrawal

    02/24/2022       Payment         Payment through 351                    26,506.66
                   through 351             Kaur
                       Kaur

    02/25/2022      Worldpay          Worldpay Balance                       113.72
                 Balance increase         decrease

    02/25/2022     Wynwood           Withdrawal from MCA                     500.00
                    Capital
                   Withdrawal

    02/25/2022      Kingdom          Withdrawal from MCA                     500.00
                     Kapital
                   Withdrawal

    02/28/2022     Wynwood           Withdrawal from MCA                     500.00
                    Capital
                   Withdrawal

    02/28/2022      Kingdom          Withdrawal from MCA                     500.00
                     Kapital
                   Withdrawal

     TOTAL                                                     59,499.51    203,418.95




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                                     EXHIBIT D




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      DATE         PURPOSE              DESCRIPTION               DEBIT       CREDIT

 02/18/2022       Check to Key        Check Key Food wrote                    150,000.00
                     Food             themselves using pre-
                                       signed blank checks

 02/18/2022          Payment        Credit through 351 Kaur                   21,805.66
                   through 351
                       Kaur

 02/19/2022       Last Day Sales    The last day sales as per      8,613.31
                                        ACME Report

     Uncertain    Change and till     Key Food removed                        22,000.00
                     money           change and till money
                                    before handing over the
                                             store

    02/19/2022      Worldpay            Worldpay Balance          4,296.17
                 Balance increase           increase

    02/20/2022      Worldpay            Worldpay Balance          1,006.05
                 Balance increase           increase

    02/22/2022      Worldpay            Worldpay Balance                       708.28
                 Balance increase           decrease

    02/22/2022   351 Kaur Debits    Debits total for 351 Kaur    45,583.98

    02/23/2022      Worldpay            Worldpay Balance                        36.53
                 Balance increase           decrease

    02/23/2022      Kingdom           Withdrawal from MCA                      500.00
                     Kapital
                   Withdrawal

    02/23/2022     Wynwood            Withdrawal from MCA                      500.00
                    Capital
                   Withdrawal

    02/24/2022      Worldpay            Worldpay Balance                        53.76
                 Balance increase           decrease

    02/24/2022     Wynwood            Withdrawal from MCA                      500.00
                    Capital
                   Withdrawal



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    02/24/2022      Kingdom          Withdrawal from MCA                     500.00
                     Kapital
                   Withdrawal

    02/24/2022       Payment         Payment through 351                    26,506.66
                   through 351             Kaur
                       Kaur

    02/25/2022      Worldpay          Worldpay Balance                       113.72
                 Balance increase         decrease

    02/25/2022     Wynwood           Withdrawal from MCA                     500.00
                    Capital
                   Withdrawal

    02/25/2022      Kingdom          Withdrawal from MCA                     500.00
                     Kapital
                   Withdrawal

    02/28/2022     Wynwood           Withdrawal from MCA                     500.00
                    Capital
                   Withdrawal

    02/28/2022      Kingdom          Withdrawal from MCA                     500.00
                     Kapital
                   Withdrawal

     TOTAL                                                     59,499.51    203,418.95




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                                        EXHIBIT E



              [No Exhibit E is included with the February 2022 Operating Report]




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                                        EXHIBIT F



              [No Exhibit F is included with the February 2022 Operating Report]




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FOR INQUIRIES CALL:   JERICHO OFFICE                                                             ACCOUNT TYPE
                      (516) 822-0214
                                                                                            BIZFLEX CHECKING
                                                     00   0 01516M NM 017
                                                                              ACCOUNT NUMBER                 STATEMENT PERIOD
                      000000                                                        9881496690                02/01/22 - 02/28/22
                                                             P
                                                                            BEGINNING BALANCE                             $596.34
                      JAR 259 FOOD CORP
                                                                            DEPOSITS & CREDITS                                0.00
                      520 S BROADWAY
                                                                            LESS CHECKS & DEBITS                              0.00
                      HICKSVILLE NY 11801-5013
                                                                            LESS SERVICE CHARGES                           484.00
                                                                            ENDING BALANCE                                $112.34




                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER     WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)       OTHER DEBITS (-)             BALANCE
 02/01/2022   BEGINNING BALANCE                                                                                            $596.34
 02/08/2022   SERVICE CHARGE FOR ACCOUNT 000009881496690                                           $484.00                  112.34
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                       0


               GREAT NEWS!

               ON JANUARY 24, 2022, M&T BANK UPDATED THE FUNDS AVAILABILITY POLICY FOR
               COMMERCIAL DEPOSIT ACCOUNTS. THE NEW POLICY IS TO MAKE FUNDS THAT YOU DEPOSIT IN
               YOUR ACCOUNT AT M&T BANK AVAILABLE ON THE FIRST BUSINESS DAY AFTER THE DAY OF
               YOUR DEPOSIT, OR ON THE SAME DAY, DEPENDING UPON THE TYPE OF DEPOSIT. PLEASE
               READ OUR UPDATED AVAILABILITY DISCLOSURE FOR COMMERCIAL DEPOSIT ACCOUNTS AT
               MTB.COM/FUNDSUPGRADE.




                                                                                                                        PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
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                                                     Date   2/28/22           Page     1




         JAR 259 FOOD CORP
         520 S BROADWAY
         HICKSVILLE NY 11801




Checking Account(s)
           Account Title JAR 259 FOOD CORP
Commercial Checking                          Images                                   0
Account Number           @XXXXXXXXXX@0243    Statement Dates   2/01/22 thru     2/28/22
Previous Balance                      .00    Days in this statement period           28
      Deposits/Credits                .00    Average Ledger                         .00
      Checks/Debits                   .00    Average Collected                      .00
Service Charge                        .00
Interest Paid                         .00
Current Balance                       .00
  _________________________________________________________________________________
|                                                   |              |                |
|                                                   |     Total For|          Total|
|                                                   |   This Period|   Year-to-Date|
|__________________________________________________|______________|_______________|
|                                                   |              |                |
|NSF paid item fee(s) this statement period         |          $.00|           $.00|
|__________________________________________________|______________|_______________|
|                                                   |              |                |
|NSF returned item fee(s) this statement period     |          $.00|        $120.00|
|__________________________________________________|______________|_______________|
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Business Adv Fundamentals - 1101: Account Activity
Balance Summary:-$10,386.41 (available as of today 03/03/2022)                                       Print
View:today 03/03/2022


All Transactions

Date             Description                            Status     Amount Available Balance

Processing       ACH HOLD Kingdom Kapital JAR FO          P       -500.00     -10,386.41
                 ON 03/03

Processing       ACH HOLD Wynwood Capital JAR FO          P       -500.00      -9,886.41
                 ON 03/03

Processing       ACH HOLD Last Chance Fund ON             P       -906.25      -9,386.41
                 03/03

Processing       ACH HOLD Last Chance Fund ON             P      -12,416.67    -8,480.16
                 03/03

03/02/2022       Wynwood Capital DES:JAR 259 FO           C       -500.00       3,936.51
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:871060007 CCD

03/02/2022       Kingdom Kapital DES:JAR 259 FO           C       -500.00       4,436.51
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:003067643 CCD

03/02/2022       Last Chance Fund DES:8884992939          C       -906.25       4,936.51
                 ID:96866920 INDN:Jar 259 Food
                 CO...

03/01/2022       Cash Deposit Processing                  C        -50.70       5,842.76

03/01/2022       Kingdom Kapital DES:JAR 259 FO           C       -500.00       5,893.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:003067643 CCD


                                                                                                                  Chat
   Share Your Feedback
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Date             Description                           Status    Amount Available Balance

03/01/2022       Wynwood Capital DES:JAR 259 FO          C      -500.00       6,393.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:871060007 CCD

Statement as of 03/01/2022

02/28/2022       Kingdom Kapital DES:JAR 259 FO          C      -500.00       6,893.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:003067643 CCD

02/28/2022       Wynwood Capital DES:JAR 259 FO          C      -500.00       7,393.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:871060007 CCD

02/25/2022       Wynwood Capital DES:JAR 259 FO          C      -500.00       7,893.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:871060007 CCD

02/25/2022       Kingdom Kapital DES:JAR 259 FO          C      -500.00       8,393.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:003067643 CCD

02/24/2022       Wynwood Capital DES:JAR 259 FO          C      -500.00       8,893.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:871060007 CCD

02/24/2022       Kingdom Kapital DES:JAR 259 FO          C      -500.00       9,393.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:003067643 CCD

02/23/2022       Wynwood Capital DES:JAR 259 FO          C      -500.00       9,893.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:871060007 CCD

02/23/2022       Kingdom Kapital DES:JAR 259 FO          C      -500.00      10,393.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:003067643 CCD

02/02/2022       Monthly Fee Business Adv                C       -16.00      10,893.46
                 Fundamentals
                                                                                                                Chat
   Share Your Feedback
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Date             Description                            Status     Amount Available Balance

                                                                               Back to top

Statement as of 02/01/2022

01/28/2022       Counter Credit                           C      10,900.00     10,909.46

01/27/2022       Itria Ven HC 1 DES:A & S VEG             C      -100.00             9.46
                 ID:Trans#1749671 INDN:A & S
                 VEGETABLES...

01/27/2022       Itria Ven CR 1 DES:B SINGH C             C      -150.00          109.46
                 ID:Trans#1750322 INDN:B SINGH...

01/27/2022       CLICK CAPITAL GR DES:Click Capi          C      -500.00          259.46
                 ID:Click Capital 3 INDN:JAR 259
                 FOOD CORP CO...

01/27/2022       CLICK CAPITAL GR DES:Click Capi          C      -500.00          759.46
                 ID:Click Capital 3 INDN:JAR 259
                 FOOD CORP CO...

01/27/2022       FOXBUSINESS DES:ACHPAYMENT               C      -500.00        1,259.46
                 ID:W015 INDN:JAR 259 FOOD CORP
                 DBA CO...

01/27/2022       Kingdom Kapital DES:JAR 259 FO           C      -500.00        1,759.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:003067643 CCD

01/27/2022       Wynwood Capital DES:JAR 259 FO           C      -500.00        2,259.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:871060007 CCD

01/27/2022       Last Chance Fund DES:8884992939          C      -500.00        2,759.46
                 ID:96443110 INDN:Jar 259 Food
                 CO...

01/27/2022       TBF GRP DES:Jat/TBF De ID:               C      -500.00        3,259.46
                 INDN:Jar 259 Food Corp CO
                 ID:003068249 CCD
                                                                                                                  Chat
   Share Your Feedback
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Date             Description                           Status     Amount Available Balance

01/27/2022       MEGED FUNDING GR DES:MF1240             C       -500.00       3,759.46
                 335 ID:MF1240 3350 KAU
                 INDN:MF1240 3350...

01/27/2022       LIQUIDIBEE LC DES:PAYMENT               C       -500.00       4,259.46
                 ID:000000008828 INDN:JAR 259
                 FOOD CORP...

01/27/2022       Last Chance Fund DES:8884992939         C       -500.00       4,759.46
                 ID:96445295 INDN:Jar 259 Food
                 CO...

01/27/2022       Last Chance Fund DES:8884992939         C       -500.00       5,259.46
                 ID:96444519 INDN:Jar 259 Food
                 CO...

01/27/2022       LIFETIMEFUNDINGL                        C      -1,000.00      5,759.46
                 DES:ACHPAYMENT ID:W011
                 INDN:Jar 259 Food Corp new CO...

01/27/2022       LIFETIMEFUNDINGL                        C      -1,000.00      6,759.46
                 DES:ACHPAYMENT ID:W013
                 INDN:Jar 259 Food Corp 4533 CO...

01/27/2022       Itria Ven CR 1 DES:A and S V            C      -1,000.00      7,759.46
                 ID:Trans#1750326 INDN:A and S...

01/27/2022       PARKVIEWADVANCE                         C      -1,000.00      8,759.46
                 DES:ACHPAYMENT ID:W014
                 INDN:JAR 259 FOOD CORP 4533
                 CO...

01/27/2022       CDG3 DES:ACHPAYMENT ID:W012             C      -1,000.00      9,759.46
                 INDN:JAR 259 FOOD CORP 4533 CO
                 ID:562147953C CCD

01/27/2022       CDG3 DES:ACHPAYMENT ID:W016             C      -3,000.00     10,759.46
                 INDN:JAR 259 FOOD CORP 4535 CO
                 ID:562147953C CCD

                                                                                                                 Chat
   Share Your Feedback
                                 Case 1-22-40304-jmm    Doc 77     Filed 05/05/22    Entered 05/05/22 15:56:35
Date             Description                           Status     Amount Available Balance

01/27/2022       Online Banking Transfer Conf#           C      11,110.00     13,759.46
                 jus8fberq; A A VEGETABLES INC, A A
                 VEGETABLES INC

01/26/2022       Itria Ven HC 1 DES:A & S VEG            C      -100.00        2,649.46
                 ID:Trans#1748435 INDN:A & S
                 VEGETABLES...

01/26/2022       Itria Ven CR 1 DES:B SINGH C            C      -150.00        2,749.46
                 ID:Trans#1749108 INDN:B SINGH...

01/26/2022       Wynwood Capital DES:JAR 259 FO          C      -500.00        2,899.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:871060007 CCD

01/26/2022       Kingdom Kapital DES:JAR 259 FO          C      -500.00        3,399.46
                 ID:549 INDN:JAR 259 FOOD CORP
                 CO ID:003067643 CCD

01/26/2022       MEGED FUNDING GR DES:MF1240             C      -500.00        3,899.46
                 335 ID:MF1240 3350 KAU
                 INDN:MF1240 3350...

01/26/2022       MR. ADVANCE HR I DES:ACH Debit          C      -500.00        4,399.46
                 ID:5319888047 INDN:Jar 259 food
                 corp...

01/26/2022       MR. ADVANCE HR I DES:ACH Debit          C      -500.00        4,899.46
                 ID:5319888138 INDN:Jar 259 food
                 corp...

01/26/2022       Last Chance Fund DES:8884992939         C      -500.00        5,399.46
                 ID:96440456 INDN:Jar 259 Food
                 CO...

01/26/2022       Last Chance Fund DES:8884992939         C      -500.00        5,899.46
                 ID:96440418 INDN:Jar 259 Food
                 CO...


                                                                                                                 Chat
   Share Your Feedback
                                Case 1-22-40304-jmm    Doc 77    Filed 05/05/22    Entered 05/05/22 15:56:35
Date             Description                          Status    Amount Available Balance

01/26/2022       Last Chance Fund DES:8884992939        C      -500.00       6,399.46
                 ID:96440389 INDN:Jar 259 Food
                 CO...

                                                                            Back to top




                                                                                                               Chat
   Share Your Feedback
        Case 1-22-40304-jmm       Doc 77     Filed 05/05/22   Entered 05/05/22 15:56:35



                                                  T      STATEMENT OF ACCOUNT



   351 VS KAUR FARMS INC                                 Page:                                  1 of 8
   259 01 UNION TPKE                                     Statement Period:    Feb 01 2022-Feb 28 2022
   GLEN OAKS NY 11004                                    Cust Ref #:            4405421283-717-T-###
                                                         Primary Account #:              440-5421283




TD Business Convenience Plus
351 VS KAUR FARMS INC                                                                Account # 440-5421283


ACCOUNT SUMMARY
Beginning Balance               187,331.35                     Average Collected Balance           82,049.27
Electronic Deposits             229,883.54                     Interest Earned This Period              0.00
                                                               Interest Paid Year-to-Date               0.00
Checks Paid                     259,951.50                     Annual Percentage Yield Earned         0.00%
Electronic Payments              60,414.08                     Days in Period                             28
Other Withdrawals                96,370.88
Service Charges                      28.00
Ending Balance                      450.43



DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE      DESCRIPTION                                                                        AMOUNT
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,120.89
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,560.91
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,514.59
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,203.88
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,203.11
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,131.51
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,113.02
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              720.45
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              675.25
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               61.71
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               23.18
02/01             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                5.98
02/02             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,774.01
02/02             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,026.29
02/02             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              875.27
02/02             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              690.65
02/02             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              595.15
02/02             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              266.98
02/02             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              266.19
02/02             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              209.01
02/02             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              181.33
02/02             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                5.54
02/03             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,877.84
02/03             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,597.87
02/03             CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,440.76

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 8

    Begin by adjusting your account register                        1. Your ending balance shown on this
    as follows:                                                         statement is:
                                                                                                                                             Ending                             450.43
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2. List below the amount of deposits or
                                                                        credit transfers which do not appear
•   Subtract any automatic payments,                                    on this statement. Total the deposits                                Total             +
    transfers or other electronic with-                                 and enter on Line 2.                                                Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3. Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4. List below the total amount of                                       Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                           withdrawals that do not appear on
                                                                        this statement. Total the withdrawals
•   Review all withdrawals shown on this                                and enter on Line 4.                                                 Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5. Subtract Line 4 from 3. This adjusted

•   Follow instructions 2-5 to verify your                              balance should equal your account
    ending account balance.                                             balance.                                                            Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                       STATEMENT OF ACCOUNT


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                                                       Page:                                  3 of 8
                                                       Statement Period:    Feb 01 2022-Feb 28 2022
                                                       Cust Ref #:            4405421283-717-T-###
                                                       Primary Account #:              440-5421283




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                        AMOUNT
02/03           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,423.07
02/03           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,402.19
02/03           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,272.92
02/03           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,112.29
02/03           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,067.14
02/03           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,009.11
02/03           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              499.28
02/03           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               86.25
02/03           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               54.82
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,173.48
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,051.03
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,501.23
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,420.31
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              960.79
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              944.02
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              845.74
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              427.38
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              284.87
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               51.40
02/04           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                1.96
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,704.50
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,445.55
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,229.27
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,039.63
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,904.22
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,786.73
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,542.58
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,520.76
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,467.11
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,444.67
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,356.97
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,255.17
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              983.52
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              897.78
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              895.97
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              866.00
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              802.55
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              796.16
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              719.00


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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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                                                       STATEMENT OF ACCOUNT


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                                                       Page:                                  4 of 8
                                                       Statement Period:    Feb 01 2022-Feb 28 2022
                                                       Cust Ref #:            4405421283-717-T-###
                                                       Primary Account #:              440-5421283




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                        AMOUNT
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              601.26
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              580.50
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              533.39
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              438.95
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              259.03
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              248.61
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               93.94
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               58.66
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               27.93
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               27.76
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               26.91
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               25.48
02/07           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               17.98
02/08           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,196.58
02/08           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,882.11
02/08           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,675.86
02/08           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,440.51
02/08           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,091.42
02/08           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              940.43
02/08           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              843.63
02/08           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              782.48
02/08           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              771.26
02/08           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               37.02
02/09           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,735.12
02/09           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,748.44
02/09           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,646.17
02/09           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,446.57
02/09           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,440.23
02/09           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,183.41
02/09           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              977.57
02/09           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              879.71
02/09           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              525.97
02/09           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              185.95
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,022.32
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,636.22
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,600.22
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,412.34
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,013.37
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              956.87


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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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                                                       STATEMENT OF ACCOUNT


   351 VS KAUR FARMS INC
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                                                       Statement Period:    Feb 01 2022-Feb 28 2022
                                                       Cust Ref #:            4405421283-717-T-###
                                                       Primary Account #:              440-5421283




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                        AMOUNT
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              771.08
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              376.73
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              324.87
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              108.95
02/10           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                7.44
02/11           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,009.10
02/11           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,830.40
02/11           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,702.36
02/11           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,384.02
02/11           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,082.76
02/11           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              985.09
02/11           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              875.35
02/11           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              477.68
02/11           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              417.65
02/11           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               21.99
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            3,203.29
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,202.24
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            2,042.93
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,937.36
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,888.97
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,774.79
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,751.83
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,676.95
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,646.88
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,515.09
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,501.76
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,487.20
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,482.61
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,367.89
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,366.83
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,322.87
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,301.64
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,068.29
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,022.06
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              993.54
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              938.61
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              881.40
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              863.98
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              856.97


Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
        Case 1-22-40304-jmm       Doc 77   Filed 05/05/22   Entered 05/05/22 15:56:35



                                                       STATEMENT OF ACCOUNT


   351 VS KAUR FARMS INC
                                                       Page:                                  6 of 8
                                                       Statement Period:    Feb 01 2022-Feb 28 2022
                                                       Cust Ref #:            4405421283-717-T-###
                                                       Primary Account #:              440-5421283




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                        AMOUNT
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              646.85
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              337.59
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              322.62
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              273.86
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               65.18
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               17.23
02/14           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               16.98
02/15           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,178.79
02/15           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,131.81
02/15           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              802.10
02/15           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              784.24
02/15           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              773.82
02/15           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              685.29
02/15           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              605.57
02/15           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              388.32
02/15           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              181.09
02/16           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,107.23
02/16           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,074.63
02/16           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              978.58
02/16           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              965.82
02/16           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              871.41
02/16           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              834.98
02/16           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              569.85
02/16           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              544.86
02/16           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               46.35
02/17           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,449.62
02/17           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              962.50
02/17           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              873.09
02/17           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              749.10
02/17           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              737.59
02/17           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              670.80
02/17           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              551.15
02/17           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              313.47
02/17           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                               31.02
02/18           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,247.74
02/18           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                            1,014.09
02/18           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              699.60
02/18           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              616.28
02/18           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                              522.59


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                                                                            STATEMENT OF ACCOUNT


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                                                                            Page:                                            7 of 8
                                                                            Statement Period:              Feb 01 2022-Feb 28 2022
                                                                            Cust Ref #:                      4405421283-717-T-###
                                                                            Primary Account #:                        440-5421283




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                                                                    AMOUNT
02/18           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      439.25
02/18           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      415.42
02/18           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      227.78
02/22           ACH RETURNED ITEM, NYS DTF BILL PYT TAX PAYMNT 000000079205260                                                           21,120.00
02/22           ACH RETURNED ITEM, PAYCHEX EIB INVOICE X96146300000112                                                                      685.66
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      607.59
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      452.09
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      312.73
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      287.98
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      238.28
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      167.74
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      167.12
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      151.97
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      135.26
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      120.78
02/22           CCD DEPOSIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                       16.78
02/25           ACH RETURNED ITEM, NYS DTF BILL PYT RETRY PYMT 000000079205260                                                           21,120.00
02/25           ACH RETURNED ITEM, NYS DTF SALES TAX PAYMNT 000000079477219                                                               4,701.00
                                                                                                            Subtotal:                  229,883.54
Checks Paid     No. Checks: 4     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE           SERIAL NO.                  AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
02/03           121                    50,000.00                                   02/15                     123                           9,951.50
02/03           122                    50,000.00                                   02/18                     124                       150,000.00
                                                                                                            Subtotal:                  259,951.50
Electronic Payments
POSTING DATE    DESCRIPTION                                                                                                                    AMOUNT
02/01           CCD DEBIT, HRTLAND PMT SYS TXNS/FEES 650000012176866                                                                      5,033.42
02/08           CCD DEBIT, NYS DTF BILL PYT TAX PAYMNT 000000078758984                                                                    3,520.29
02/09           CCD DEBIT, HRTLAND PMT SYS CHARGEBACK 650000012176866                                                                        27.76
02/15           CCD DEBIT, NYS DTF BILL PYT TAX PAYMNT 000000079027077                                                                    3,520.29
02/18           CCD DEBIT, NYS DTF BILL PYT TAX PAYMNT 000000079205260                                                                   21,120.00
02/18           CCD DEBIT, PAYCHEX EIB INVOICE X96146300000112                                                                              685.66
02/24           CCD DEBIT, NYS DTF BILL PYT RETRY PYMT 000000079205260                                                                   21,120.00
02/24           CCD DEBIT, NYS DTF SALES TAX PAYMNT 000000079477219                                                                       4,701.00
02/24           CCD DEBIT, PAYCHEX EIB RETRY PYMT X96212000000447                                                                           685.66
                                                                                                            Subtotal:                    60,414.08




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                                                         STATEMENT OF ACCOUNT


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                                                         Page:                                  8 of 8
                                                         Statement Period:    Feb 01 2022-Feb 28 2022
                                                         Cust Ref #:            4405421283-717-T-###
                                                         Primary Account #:              440-5421283




DAILY ACCOUNT ACTIVITY
Other Withdrawals
POSTING DATE      DESCRIPTION                                                                        AMOUNT
02/03             WIRE TRANSFER OUTGOING, Paychex Inc                                              19,726.11
02/03             WIRE TRANSFER FEE                                                                    30.00
02/08             DEBIT                                                                             8,990.00
02/09             WIRE TRANSFER OUTGOING, Paychex Inc                                              21,767.96
02/09             WIRE TRANSFER FEE                                                                    30.00
02/14             DEBIT                                                                             6,000.00
02/14             DEBIT                                                                             1,700.00
02/15             DEBIT                                                                             7,800.00
02/17             WIRE TRANSFER OUTGOING, Paychex Inc                                              21,121.81
02/17             WIRE TRANSFER FEE                                                                    30.00
02/18             DEBIT                                                                             9,000.00
02/22             OVERDRAFT RET                                                                        70.00
02/22             OVERDRAFT PD                                                                         35.00
02/25             OVERDRAFT RET                                                                        70.00
                                                                              Subtotal:            96,370.88
Service Charges
POSTING DATE      DESCRIPTION                                                                        AMOUNT
02/28             MAINTENANCE FEE                                                                        25.00
02/28             PAPER STATEMENT FEE                                                                     3.00
                                                                              Subtotal:                  28.00


DAILY BALANCE SUMMARY
DATE                              BALANCE                      DATE                                 BALANCE
01/31                           187,331.35                     02/14                             175,058.54
02/01                           193,632.41                     02/15                             160,317.78
02/02                           199,522.83                     02/16                             167,311.49
02/03                            92,610.26                     02/17                             152,498.02
02/04                           103,272.47                     02/18                             -23,124.89
02/07                           133,871.01                     02/22                               1,234.09
02/08                           133,022.02                     02/24                             -25,272.57
02/09                           123,965.44                     02/25                                 478.43
02/10                           134,195.85                     02/28                                 450.43
02/11                           144,982.25




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 Balance To Date      Process Date    Transaction Date           Reason        Partial Routing Hold        Chain           Store          Division        Merchant

84925              01/14/2022        01/14/2022          EBAL-ENDING BALANCE                          0K269E                                          542929801619404
                   01/14/2022        01/14/2022          AREJ-ACH REJECT       -246.67                0K269E                                          542929801619404
                   01/14/2022        01/14/2022          RHLD-ROUTING HOLD     14420.5                0K269E                                          542929801619404
                   01/14/2022        01/15/2022          RHLD-ROUTING HOLD     6693                   0K269E                                          542929801619404
91382.39           01/15/2022        01/15/2022          EBAL-ENDING BALANCE                          0K269E                                          542929801619404
                   01/15/2022        01/15/2022          AREJ-ACH REJECT       -235.61                0K269E                                          542929801619404
                   01/14/2022        01/16/2022          RHLD-ROUTING HOLD     4414.01                0K269E                                          542929801619404
95796.4            01/16/2022        01/16/2022          EBAL-ENDING BALANCE                          0K269E                                          542929801619404
102745.03          01/17/2022        01/17/2022          EBAL-ENDING BALANCE                          0K269E                                          542929801619404
                   01/14/2022        01/17/2022          RHLD-ROUTING HOLD     6948.63                0K269E                                          542929801619404
                   01/14/2022        01/18/2022          RHLD-ROUTING HOLD     3987.58                0K269E                                          542929801619404
106732.61          01/18/2022        01/18/2022          EBAL-ENDING BALANCE                          0K269E                                          542929801619404
110199.88          01/19/2022        01/19/2022          EBAL-ENDING BALANCE                          0K269E                                          542929801619404
                   01/14/2022        01/19/2022          RHLD-ROUTING HOLD     4662.51                0K269E                                          542929801619404
                   01/15/2022        01/19/2022          AREJ-ACH REJECT       -235.61                0K269E                                          542929801619404
                   01/19/2022        01/19/2022          AREJ-ACH REJECT       -179.76                0K269E                                          542929801619404
                   01/14/2022        01/19/2022          AREJ-ACH REJECT       -246.67                0K269E                                          542929801619404
                   12/07/2021        01/19/2022          AREJ-ACH REJECT       -213.3                 0K269E                                          542929801619404
                   01/10/2022        01/19/2022          RHLD-ROUTING HOLD     -1711.06               0K269E                                          542929801619404
                   01/10/2022        01/20/2022          RHLD-ROUTING HOLD     -37628.97              0K269E                                          542929801619404
44485.46           01/20/2022        01/20/2022          EBAL-ENDING BALANCE                          0K269E                                          542929801619404
                   01/20/2022        01/20/2022          AREJ-ACH REJECT       -200.97                0K269E                                          542929801619404
                   01/14/2022        01/20/2022          RHLD-ROUTING HOLD     -1251.09               0K269E                                          542929801619404
                   01/20/2022        01/20/2022          RHLD-ROUTING HOLD     4991.05                0K269E                                          542929801619404
                   01/13/2022        01/20/2022          RHLD-ROUTING HOLD     -16980.06              0K269E                                          542929801619404
                   01/12/2022        01/20/2022          RHLD-ROUTING HOLD     -14644.38              0K269E                                          542929801619404
                   01/12/2022        01/20/2022          RHLD-ROUTING HOLD     0                      0K269E                                          542929801619404
48253.44           01/21/2022        01/21/2022          EBAL-ENDING BALANCE                          0K269E                                          542929801619404
                   01/21/2022        01/21/2022          AREJ-ACH REJECT       -71.73                 0K269E                                          542929801619404
                   01/21/2022        01/21/2022          AREJ-ACH REJECT       -26.47                 0K269E                                          542929801619404
                   01/20/2022        01/21/2022          RHLD-ROUTING HOLD     4082.63                0K269E                                          542929801619404
                   01/21/2022        01/21/2022          AREJ-ACH REJECT       -47.49                 0K269E                                          542929801619404
                   01/21/2022        01/21/2022          AREJ-ACH REJECT       -168.96                0K269E                                          542929801619404
                   01/20/2022        01/22/2022          RHLD-ROUTING HOLD     4502.81                0K269E                                          542929801619404
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            01/22/2022   01/22/2022   AREJ-ACH REJECT       -31.81         0K269E                                            542929801619404
52724.44    01/22/2022   01/22/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
58295.88    01/23/2022   01/23/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            01/20/2022   01/23/2022   RHLD-ROUTING HOLD     5571.44        0K269E                                            542929801619404
            01/20/2022   01/24/2022   RHLD-ROUTING HOLD     6524.89        0K269E                                            542929801619404
64820.77    01/24/2022   01/24/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
81665.1     01/25/2022   01/25/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            01/25/2022   01/25/2022   AREJ-ACH REJECT       -24.97         0K269E                                            542929801619404
            01/25/2022   01/25/2022   RHLD-ROUTING HOLD     16869.3        0K269E                                            542929801619404
            01/25/2022   01/26/2022   RHLD-ROUTING HOLD     8445.85        0K269E                                            542929801619404
            01/26/2022   01/26/2022   AREJ-ACH REJECT       -20.98         0K269E                                            542929801619404
90089.97    01/26/2022   01/26/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
94137.48    01/27/2022   01/27/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            01/25/2022   01/27/2022   RHLD-ROUTING HOLD     4047.51        0K269E                                            542929801619404
            01/25/2022   01/28/2022   RHLD-ROUTING HOLD     5301.79        0K269E                                            542929801619404
99372.49    01/28/2022   01/28/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            01/28/2022   01/28/2022   AREJ-ACH REJECT       -66.78         0K269E                                            542929801619404
            01/29/2022   01/29/2022   AREJ-ACH REJECT       -211.65        0K269E                                            542929801619404
111107.83   01/29/2022   01/29/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            01/25/2022   01/29/2022   RHLD-ROUTING HOLD     11946.99       0K269E                                            542929801619404
            01/25/2022   01/30/2022   RHLD-ROUTING HOLD     740.46         0K269E                                            542929801619404
111848.29   01/30/2022   01/30/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
116749.84   01/31/2022   01/31/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            01/29/2022   01/31/2022   AREJ-ACH REJECT       -211.65        0K269E                                            542929801619404
            01/28/2022   01/31/2022   AREJ-ACH REJECT       -66.78         0K269E                                            542929801619404
            01/26/2022   01/31/2022   AREJ-ACH REJECT       -20.98         0K269E                                            542929801619404
            01/25/2022   01/31/2022   AREJ-ACH REJECT       -24.97         0K269E                                            542929801619404
            01/22/2022   01/31/2022   AREJ-ACH REJECT       -31.81         0K269E                                            542929801619404
            01/21/2022   01/31/2022   AREJ-ACH REJECT       -26.47         0K269E                                            542929801619404
            01/21/2022   01/31/2022   AREJ-ACH REJECT       -71.73         0K269E                                            542929801619404
            01/25/2022   01/31/2022   RHLD-ROUTING HOLD     4901.55        0K269E                                            542929801619404
            01/21/2022   01/31/2022   AREJ-ACH REJECT       -168.96        0K269E                                            542929801619404
            01/21/2022   01/31/2022   AREJ-ACH REJECT       -47.49         0K269E                                            542929801619404
            01/20/2022   01/31/2022   AREJ-ACH REJECT       -200.97        0K269E                                            542929801619404
            01/19/2022   01/31/2022   AREJ-ACH REJECT       -179.76        0K269E                                            542929801619404
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            01/20/2022   01/31/2022   RHLD-ROUTING HOLD     -1051.57       0K269E                                            542929801619404
            01/25/2022   02/01/2022   RHLD-ROUTING HOLD     4141.51        0K269E                                            542929801619404
            02/01/2022   02/01/2022   AREJ-ACH REJECT       -86.77         0K269E                                            542929801619404
120804.58   02/01/2022   02/01/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
131753.05   02/02/2022   02/02/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            02/02/2022   02/02/2022   AREJ-ACH REJECT       -109.65        0K269E                                            542929801619404
            02/02/2022   02/02/2022   RHLD-ROUTING HOLD     11058.12       0K269E                                            542929801619404
            02/02/2022   02/03/2022   RHLD-ROUTING HOLD     6526.7         0K269E                                            542929801619404
            02/03/2022   02/03/2022   AREJ-ACH REJECT       -106.69        0K269E                                            542929801619404
138133.6    02/03/2022   02/03/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            02/03/2022   02/03/2022   AREJ-ACH REJECT       -32.07         0K269E                                            542929801619404
            02/03/2022   02/03/2022   AREJ-ACH REJECT       -7.39          0K269E                                            542929801619404
            02/04/2022   02/04/2022   AREJ-ACH REJECT       -56.68         0K269E                                            542929801619404
144753.58   02/04/2022   02/04/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            02/02/2022   02/04/2022   RHLD-ROUTING HOLD     6676.66        0K269E                                            542929801619404
            02/02/2022   02/05/2022   RHLD-ROUTING HOLD     9284.88        0K269E                                            542929801619404
153999.31   02/05/2022   02/05/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            02/05/2022   02/05/2022   AREJ-ACH REJECT       -39.15         0K269E                                            542929801619404
162043.87   02/06/2022   02/06/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            02/02/2022   02/06/2022   RHLD-ROUTING HOLD     8044.56        0K269E                                            542929801619404
            02/02/2022   02/07/2022   RHLD-ROUTING HOLD     7079.91        0K269E                                            542929801619404
169123.78   02/07/2022   02/07/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
174210.64   02/08/2022   02/08/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            02/08/2022   02/08/2022   AREJ-ACH REJECT       -123.19        0K269E                                            542929801619404
            02/08/2022   02/08/2022   RHLD-ROUTING HOLD     5210.05        0K269E                                            542929801619404
            02/08/2022   02/09/2022   RHLD-ROUTING HOLD     6989.02        0K269E                                            542929801619404
            02/09/2022   02/09/2022   AREJ-ACH REJECT       -47.36         0K269E                                            542929801619404
181152.3    02/09/2022   02/09/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
187943.42   02/10/2022   02/10/2022   EBAL-ENDING BALANCE                  0K269E                                            542929801619404
            02/08/2022   02/10/2022   AREJ-ACH REJECT       -123.19        0K269E                                            542929801619404
            02/10/2022   02/10/2022   AREJ-ACH REJECT       -73.09         0K269E                                            542929801619404
            02/10/2022   02/10/2022   AREJ-ACH REJECT       -85.07         0K269E                                            542929801619404
            02/10/2022   02/10/2022   AREJ-ACH REJECT       -69.68         0K269E                                            542929801619404
            02/09/2022   02/10/2022   AREJ-ACH REJECT       -47.36         0K269E                                            542929801619404
            02/05/2022   02/10/2022   AREJ-ACH REJECT       -39.15         0K269E                                            542929801619404
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            02/04/2022   02/10/2022   AREJ-ACH REJECT       -56.68        0K269E                                            542929801619404
            02/03/2022   02/10/2022   AREJ-ACH REJECT       -32.07        0K269E                                            542929801619404
            02/03/2022   02/10/2022   AREJ-ACH REJECT       -7.39         0K269E                                            542929801619404
            02/03/2022   02/10/2022   AREJ-ACH REJECT       -106.69       0K269E                                            542929801619404
            02/02/2022   02/10/2022   AREJ-ACH REJECT       -109.65       0K269E                                            542929801619404
            02/01/2022   02/10/2022   AREJ-ACH REJECT       -86.77        0K269E                                            542929801619404
            02/08/2022   02/10/2022   RHLD-ROUTING HOLD     7019          0K269E                                            542929801619404
            01/14/2022   02/10/2022   RHLD-ROUTING HOLD     -608.95       0K269E                                            542929801619404
            02/08/2022   02/11/2022   RHLD-ROUTING HOLD     8746.65       0K269E                                            542929801619404
            02/11/2022   02/11/2022   AREJ-ACH REJECT       -64.37        0K269E                                            542929801619404
196625.7    02/11/2022   02/11/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
203636.07   02/12/2022   02/12/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
            02/12/2022   02/12/2022   AREJ-ACH REJECT       -37.25        0K269E                                            542929801619404
            02/08/2022   02/12/2022   RHLD-ROUTING HOLD     7047.62       0K269E                                            542929801619404
            02/08/2022   02/13/2022   RHLD-ROUTING HOLD     5045.42       0K269E                                            542929801619404
208681.49   02/13/2022   02/13/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
213954.51   02/14/2022   02/14/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
            02/08/2022   02/14/2022   RHLD-ROUTING HOLD     5273.02       0K269E                                            542929801619404
            02/08/2022   02/15/2022   RHLD-ROUTING HOLD     3456.98       0K269E                                            542929801619404
217304.67   02/15/2022   02/15/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
            02/15/2022   02/15/2022   AREJ-ACH REJECT       -44.06        0K269E                                            542929801619404
            02/15/2022   02/15/2022   AREJ-ACH REJECT       -62.76        0K269E                                            542929801619404
            02/16/2022   02/16/2022   AREJ-ACH REJECT       -52.14        0K269E                                            542929801619404
221548.66   02/16/2022   02/16/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
            02/08/2022   02/16/2022   RHLD-ROUTING HOLD     4296.13       0K269E                                            542929801619404
            02/08/2022   02/17/2022   RHLD-ROUTING HOLD     5194.59       0K269E                                            542929801619404
226537.85   02/17/2022   02/17/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
            02/15/2022   02/17/2022   AREJ-ACH REJECT       -62.76        0K269E                                            542929801619404
            02/17/2022   02/17/2022   AREJ-ACH REJECT       -86.04        0K269E                                            542929801619404
            02/17/2022   02/17/2022   AREJ-ACH REJECT       -86.04        0K269E                                            542929801619404
            02/17/2022   02/17/2022   AREJ-ACH REJECT       -34.88        0K269E                                            542929801619404
            02/17/2022   02/17/2022   AREJ-ACH REJECT       -34.88        0K269E                                            542929801619404
            02/17/2022   02/17/2022   AREJ-ACH REJECT       -50.58        0K269E                                            542929801619404
            02/17/2022   02/17/2022   AREJ-ACH REJECT       -50.58        0K269E                                            542929801619404
            02/16/2022   02/17/2022   AREJ-ACH REJECT       -52.14        0K269E                                            542929801619404
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            02/15/2022   02/17/2022   AREJ-ACH REJECT       -44.06        0K269E                                            542929801619404
            02/12/2022   02/17/2022   AREJ-ACH REJECT       -37.25        0K269E                                            542929801619404
            02/11/2022   02/17/2022   AREJ-ACH REJECT       -64.37        0K269E                                            542929801619404
            02/10/2022   02/17/2022   AREJ-ACH REJECT       -73.09        0K269E                                            542929801619404
            02/10/2022   02/17/2022   AREJ-ACH REJECT       -85.07        0K269E                                            542929801619404
            02/10/2022   02/17/2022   AREJ-ACH REJECT       -69.68        0K269E                                            542929801619404
            02/03/2022   02/17/2022   AREJ-ACH REJECT       -106.69       0K269E                                            542929801619404
            02/02/2022   02/17/2022   RHLD-ROUTING HOLD     -659.96       0K269E                                            542929801619404
            02/08/2022   02/18/2022   RHLD-ROUTING HOLD     5152.44       0K269E                                            542929801619404
            02/18/2022   02/18/2022   AREJ-ACH REJECT       -62.08        0K269E                                            542929801619404
231628.21   02/18/2022   02/18/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
235924.38   02/19/2022   02/19/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
            02/19/2022   02/19/2022   AREJ-ACH REJECT       -24.6         0K269E                                            542929801619404
            02/08/2022   02/19/2022   RHLD-ROUTING HOLD     4320.77       0K269E                                            542929801619404
            02/08/2022   02/20/2022   RHLD-ROUTING HOLD     1006.05       0K269E                                            542929801619404
236930.43   02/20/2022   02/20/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
236930.43   02/21/2022   02/21/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
236222.15   02/22/2022   02/22/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
            02/19/2022   02/22/2022   AREJ-ACH REJECT       -24.6         0K269E                                            542929801619404
            02/18/2022   02/22/2022   AREJ-ACH REJECT       -62.08        0K269E                                            542929801619404
            02/02/2022   02/22/2022   RHLD-ROUTING HOLD     -794.96       0K269E                                            542929801619404
            02/23/2022   02/23/2022   AREJ-ACH REJECT       -36.53        0K269E                                            542929801619404
236185.62   02/23/2022   02/23/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
236131.86   02/24/2022   02/24/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
            02/24/2022   02/24/2022   AREJ-ACH REJECT       -53.76        0K269E                                            542929801619404
            02/25/2022   02/25/2022   AREJ-ACH REJECT       -49.43        0K269E                                            542929801619404
236018.14   02/25/2022   02/25/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
            02/25/2022   02/25/2022   AREJ-ACH REJECT       -15.27        0K269E                                            542929801619404
            02/25/2022   02/25/2022   AREJ-ACH REJECT       -49.02        0K269E                                            542929801619404
236018.14   02/26/2022   02/26/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
236018.14   02/27/2022   02/27/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
236018.14   02/28/2022   02/28/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
            02/17/2022   02/28/2022   AREJ-ACH REJECT       -86.04        0K269E                                            542929801619404
            02/02/2022   02/28/2022   RHLD-ROUTING HOLD     -32.47        0K269E                                            542929801619404
236018.14   03/01/2022   03/01/2022   EBAL-ENDING BALANCE                 0K269E                                            542929801619404
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236018.14   03/02/2022   03/02/2022   EBAL-ENDING BALANCE                   0K269E                                            542929801619404
236018.14   03/03/2022   03/03/2022   EBAL-ENDING BALANCE                   0K269E                                            542929801619404
236018.14   03/04/2022   03/04/2022   EBAL-ENDING BALANCE                   0K269E                                            542929801619404
236018.14   03/05/2022   03/05/2022   EBAL-ENDING BALANCE                   0K269E                                            542929801619404
236018.14   03/06/2022   03/06/2022   EBAL-ENDING BALANCE                   0K269E                                            542929801619404
236018.14   03/07/2022   03/07/2022   EBAL-ENDING BALANCE                   0K269E                                            542929801619404
236018.14   03/08/2022   03/08/2022   EBAL-ENDING BALANCE                   0K269E                                            542929801619404
236018.14   03/09/2022   03/09/2022   EBAL-ENDING BALANCE                   0K269E                                            542929801619404
            02/02/2022   03/10/2022   RHLD-ROUTING HOLD     -47183.44       0K269E                                            542929801619404
            02/08/2022   03/10/2022   RHLD-ROUTING HOLD     -68552.3        0K269E                                            542929801619404
            03/09/2022   03/10/2022   RHLD-ROUTING HOLD     0               0K269E                                            542929801619404
            01/14/2022   03/10/2022   RHLD-ROUTING HOLD     -39266.19       0K269E                                            542929801619404
            01/25/2022   03/10/2022   RHLD-ROUTING HOLD     -56394.96       0K269E                                            542929801619404
            01/20/2022   03/10/2022   RHLD-ROUTING HOLD     -24621.25       0K269E                                            542929801619404
